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                       IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


 NEONODE SMARTPHONE LLC,                                Civil Action No. 6:20-cv-00507

                                       Plaintiff,

                        v.                              JURY TRIAL DEMANDED

 SAMSUNG ELECTRONICS CO. LTD.
 and SAMSUNG ELECTRONICS
 AMERICA, INC.,

                                   Defendants.



                       ORDER REGARDING DISCOVERY DISPUTE

       Upon consideration of the parties’ supporting written positions concerning a discovery

dispute submitted to the Court for resolution by the plaintiff Neonode Smartphone LLC

(“Neonode”) and defendants Samsung Electronics Co. Ltd. and Samsung Electronics America,

Inc. (collectively, “Samsung”) on April 15, 2024, and oral arguments concerning the same, the

Court hereby ORDERS the following relief:

A.     Discovery Dispute

       Issue #2: Details regarding Samsung’s contention or belief that 35 U.S.C. § 315(e)

(IPR estoppel) does not apply.

       1.      Neonode (Requesting Party)’s Position

       This information is relevant to the application of 35 U.S.C. § 315(e) to this case and the

permissible scope and nature of Samsung’s invalidity contentions, because Samsung, as a

petitioner in IPR2021-00144 directed to the ‘879 Patent, may not assert in this litigation invalidity

grounds that Samsung raised or reasonably could have raised in the IPR. See 35 U.S.C. § 315(e)(2).


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       Samsung’s Final Invalidity Contentions identify 349 prior art patents and applications and

118 other prior art publications. Samsung’s original interrogatory response did not explain why

any of these 467 references could not have been raised in the IPR or, for the many that were raised

in the IPR, why they are not estopped now.

       Samsung’s March 14 supplemental response limits Samsung’s prior-art based invalidity

contentions to nine theories premised upon products/systems and combinations thereof with

patents and printed publications identified in Samsung’s contentions. But Samsung’s response

remains deficient, for several reasons.

       First, Samsung’s nine products/systems contentions cite and rely upon 50+ patents and

printed publications (a subset of the 467). With one exception, Samsung failed to explain why

these 50+ references are not estopped. Samsung now says, “for references that qualify as ‘patents

and printed publications,’ the only such reference Samsung contends is beyond the scope of

estoppel is the PalmTop VHS video tape.” But such hedging leaves unclear whether Samsung

agrees that all of the remaining 50+ references qualify as “patents and printed publications” and

are estopped.

       Second, as to the PalmTop video, Samsung’s response says it “could not have been raised

by Samsung in an inter partes review” because “[a] skilled searcher conducting a diligent search

reasonably would not have uncovered the reference.” But in fact, Samsung submitted the video in

IPR2021-00144 as an exhibit. Samsung has not explained why the video is not estopped.

       Third, Samsung has not explained why its products/systems are not estopped. IPR estoppel

can apply to products/systems that are merely cumulative of, and provide the same material

teachings as, estopped patents or printed publications. E.g., Boston Sci. Corp. v. Cook Grp. Inc.,

2023 WL 1452172, at *34 (S.D. Ind. Jan. 31, 2023); Wasica Fin. GmbH v. Schrader Int’l, Inc.,



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432 F. Supp. 3d 448, 454–55 (D. Del. 2020). Here, Samsung relies heavily if not exclusively on

the 50+ estopped references as evidencing the purported teachings of the products/systems raised

in its contentions. Samsung has not explained how any of the products/systems are not cumulative

of those estopped references.

       Requested Relief: Order that: “Within 14 days following entry of this order, Samsung

must, (1) for each patent and printed publication cited in or forming the basis of any invalidity

contention, state the full and complete legal and factual basis for any contention or belief that such

patent and printed publication is not subject to estoppel under 35 U.S.C. § 315(e), including a

detailed explanation of why each patent and printed publication (alone or in combination) could

not reasonably have been raised in a prior inter partes review, and (2) for each product and system

raised in its invalidity contentions, state the full and complete legal and factual basis for any

contention or belief that such product or system is not cumulative of patents and printed

publications cited in Samsung’s contention chart corresponding to the product or system.”

       2.         Samsung (Responding Party)’s Position

       Samsung has fully responded to this contention interrogatory by identifying prior art

references and combinations it intends to pursue that could not have been raised in an IPR. Any

further supplement will require Neonode to disclose its contentions regarding IPR estoppel—an

issue on which Neonode bears the burden of proof and for which Neonode has refused to disclose

its contention.

       As to Neonode’s first and second points, for references that qualify as “patents and printed

publications,” the only such reference Samsung contends is beyond the scope of estoppel is the

PalmTop VHS video tape. Samsung disclosed in its response that Samsung could not have




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previously raised this reference in IPR because it could not have been located with reasonable

efforts prior to filing the IPR. Samsung’s response is complete.

        As for the third point—whether Samsung’s product/system prior art is cumulative of an

allegedly estopped reference—Samsung cannot provide further information until Neonode

discloses its contentions, including by identifying any allegedly estopped reference, why that

reference qualifies as an estopped reference, and why that reference is materially identical to the

product/system. It is Neonode’s burden to prove estoppel under 35 U.S.C. § 315(e) and Neonode

has not yet pled, disclosed or otherwise put Samsung on notice of its contentions. Until it does so,

Samsung cannot disclose its rebuttal contention. Neonode has thus far refused to disclose its

estoppel contention in response to Samsung’s Interrogatory No. 6, so Samsung has now served

Interrogatory No. 29 explicitly focused on this issue.

        Finally, Interrogatory No. 14 itself does not fairly request that Samsung explain whether

an asserted product/system reference is “cumulative” to any particular other reference. Samsung

should not be compelled to respond to a hypothetical contention that Neonode has thus far refused

to disclose.

        Requested Relief: Deny Neonode’s requested Relief, or, in the alternative, order Neonode

to respond to Samsung’s Interrogatory No. 6 or 29 to disclose Neonode’s contention within 14

days so that Samsung can provide a rebuttal contention.



        ORDER: Samsung shall, by May 2, 2025, supplement its response to Interrogatory 14 so

as to provide: (a) the basis for any assertion that any of the references listed below cited in

Samsung’s Final Invalidity Contentions do not qualify as patents or printed publications, and




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(b) the basis for any assertion that any of these references could not reasonably have been raised

by Samsung in inter partes review proceeding in accordance with 35 U.S.C. § 315(e):

A-4: PalmTop

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4. PalmTop Computer PTC-500 Guide, 3-751-572-02, 1990
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7. Tomoshi Hirayama, “Personalized Information Handling Machine PalmTop,” ARC, Feb. 1,
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A-5: Magic Cap

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2.  Sony Magic Link User’s Guide, PIC-2000
3.  Using Magic Cap, The User’s Guide for the DataRover 840, Icras, Inc.
4.  Motorola Envoy Wireless Communicator User’s Guide
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8.  Chris O’Malley, “UNWIRED, the next generation of communications gear,” Popular Science,
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9. DataRover 840 Datasheet
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12. Envoy, Getting Started
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14. Andrew Gore, “Magic Cap OS will let users walk through on-line world,” MacWEEK, Vol. 7,
    No. 35, September 6, 1993, 1, 116


A-6: HP OmniGo

1. HP OmniGo 100 Organizer Plus brochure
2. HP OmniGo 100 Quick Start and User’s Reference, HP Part No. F1310-90001, Ed. 1
3. U.S. Patent No. 5,949,408 (Kang)




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3. Stathis et al., “Living memory: agent-based information management for connected local
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A-14: Gridlock

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SIGNED this 25th day of April, 2025

                                          ________________________________
                                          ALAN D ALBRIGHT
                                          UNITED STATES DISTRICT JUDGE




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